
PER CURIAM.
| t Denied. The application was not timely filed in the district court, and relator fails to carry his burden to show that an exception applies. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189. In addition, relator’s application is repetitive. La. C.Cr,P art. 930.4.
Relator has now fully litigated at least twelve applications for post-conviction relief in state court. Similar to federal habe-as relief, see 28 U.S.C. § 2244,. Louisiana post-conviction procedure envisions the filing of a second or- successive application only under the narrow circumstances provided in La.C.Cr.P. art. 930.4 and within the limitations period as set out in’ La. C.Cr.P. art. 930.8. Notably, the Legislature in 2013 La. Acts 251 amended that article to make the procedural bars against successive filings mandatory. Relator’s *957claims have now been fully litigated in accord with La.C.Cr.P. art. 930.6, and this denial is final. Hereafter, unless he can show that one of the narrow exceptions authorizing the filing of a successive application applies, relator has exhausted his right to state collateral review. The District Court is ordered to record a minute entry consistent with this per curiam.
